                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI

      JOSHUA SITZER AND AMY
      WINGER, SCOTT AND RHONDA
      BURNETT, AND RYAN
      HENDRICKSON, on behalf of
      themselves and all others similarly
      situated,
                                                            Case No.: 4:19-cv-00332-SRB
                      Plaintiffs,
                                                            COMPLAINT- CLASS ACTION
              v.
                                                            JURY TRIAL DEMANDED
      THE NATIONAL ASSOCIATION OF
      REALTORS, REALOGY HOLDINGS CORP.,
      HOMESERVICES OF AMERICA, INC., BHH
      AFFILIATES, LLC, HSF AFFILIATES, LLC,
      THE LONG & FOSTER COMPANIES, INC,
      RE/MAX LLC, and KELLER WILLIAMS
      REALTY, INC.

                      Defendants.


                          FIRST AMENDED CLASS ACTION COMPLAINT

       Plaintiffs Joshua Sitzer and Amy Winger, Scott and Rhonda Burnett, and Ryan

Hendrickson (“Plaintiffs”), bring this action on behalf of themselves and on behalf of the plaintiff

classes (the “Classes”) consisting of all persons and entities who listed properties on one of four

Multiple Listing Services (the “Subject MLS”) and paid a broker commission from at least April

29, 2015 until the Present (the “Subject MLS Class Period”). 1 Defendants are the National

Association of Realtors and the four largest national real estate broker franchisors: Realogy

Holdings Corp.; HomeServices of America, Inc., and its subsidiaries and/or affiliates BHH


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 Plaintiffs also bring this action on behalf of themselves and the MMPA Class and the Missouri
Antitrust Law Class, as those terms are defined herein. The Class Period for the MMPA Class is
April 29, 2014 (or earlier) until the Present.
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Affiliates, LLC, HSF Affiliates, LLC, and The Long & Foster Companies, Inc.; RE/MAX, LLC.;

and Keller Williams Realty, Inc., each of which has a significant presence in the Kansas City

metropolitan area and the other areas identified in this Complaint. Together, Defendants have

conspired to require home sellers to pay the broker representing the buyer of their homes, and to

pay an inflated amount, in violation of federal antitrust law, the Missouri Merchandising Practices

Act (“MMPA”), and the Missouri Antitrust Law, Mo. Rev. Stat. § 416.031.

       Plaintiffs seek treble damages under federal antitrust law, threefold damages under the

Missouri Antitrust Law, punitive damages under the MMPA, injunctive relief, and the costs of

this lawsuit, including reasonable attorneys’ fees, and demand a trial by jury.

                                  NATURE OF THE ACTION

       1.      Plaintiffs, home sellers who listed their homes on one of four Multiple Listing

Services (identified below), bring this action against Defendants for agreeing, combining, and

conspiring to impose and enforce an anticompetitive restraint that requires home sellers to pay the

broker representing the buyer of their homes, and to pay an inflated amount, in violation of federal

antitrust law and in violation of Missouri law. Indeed, the Antitrust Division of the United States

Department of Justice is currently and actively investigating practices in residential real estate

brokerage marketplace, with an apparent focus on compensation paid to brokers among other

conduct and practices.

       2.      Defendants are the National Association of Realtors (“NAR”) and the four largest

national real estate brokers, Realogy Holdings Corp., HomeServices of America, Inc. (and its

subsidiaries and/or affiliates BHH Affiliates, LLC, HSF Affiliates, LLC, and The Long & Foster

Companies, Inc.), RE/MAX, LLC, and Keller Williams Realty, Inc. (the latter group is the

“Corporate Defendants,” and collectively with NAR they are “Defendants”).


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       3.      The cornerstone of Defendants’ conspiracy is NAR’s adoption and implementation

of a rule that requires all seller’s brokers to make a blanket, unilateral and effectively non-

negotiable offer of buyer broker compensation (the “Adversary Commission Rule”) when listing

a property on a Multiple Listing Service (“MLS”).

       4.      An MLS is a database of properties listed for sale in a particular geographic region.

The vast majority of homes in the United States are sold on an MLS marketplace. Brokers, if they

are members of an MLS, are required to list all properties on the MLS.

       5.      The MLSs at issue in this case are controlled by local NAR associations, and access

to such MLSs is conditioned on brokers agreeing to follow all mandatory rules set forth in NAR’s

Handbook on Multiple Listing Policy.2 The Adversary Commission Rule is a mandatory rule in

NAR’s Handbook.

       6.      Defendants and their co-conspirators collectively possess market power in local

markets for real estate broker services through their control of the local MLS.

       7.      Due to Defendants’ conspiracy, NAR conditions a broker’s access to and use of

NAR’s MLSs on a broker’s agreement to adhere to and implement terms that restrain competition.

Further, each of the Corporate Defendants plays an active role in NAR and mandates that

franchisees, brokerages, and individual realtors join and implement NAR’s anticompetitive rules,

including the Adversary Commission Rule, otherwise these parties would not receive the benefit

of the Corporate Defendants’ branding, brokerage infrastructure, and other support. As the

leading brokers in the United States (and also in the four MLS markets covered by the Class

Definition), their knowing acts of forming and/or joining and participating in the conspiracy, by



2
  See National Association of Realtors, Handbook on Multiple Listing Policy 2019, available at
https://www.nar.realtor/sites/default/files/documents/2019-HMLP.pdf (“NAR Handbook”).
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implementing and enforcing its rules and policies, is essential to the conspiracy’s success. The

unlawful restraints implemented and enforced by the conspirators benefit NAR and the Corporate

Defendants, furthering their common goals by permitting brokers to impose supra-competitive

charges on home sellers and restrain competition by precluding competition from innovative or

lower-priced alternatives.

       8.        Defendants’ conspiracy forces home sellers to pay a cost that, in a competitive

market and were it not for Defendants’ anticompetitive restraint, would be paid by the buyer.

       9.        Most buyer brokers will not show homes to their clients where the seller is offering

a lower adversary / buyer commission, or they will give priority to showing homes with higher

adversary / buyer commission offers first. As a result, to gain the cooperation of buyer brokers,

selling brokers are incentivized to offer a higher adversary / buyer broker commission as part of

complying with NAR’s mandatory Adversary Commission Rule.

       10.       If NAR’s Adversary Commission Rule were not in place, then the cost of buyer

broker commissions would be paid by their clients (home buyers). Buyer brokers would thus have

to compete with one another by offering a lower commission rate. The Adversary Commission

Rule thereby restrains price competition among buyer brokers because the person who actually

retains the buyer broker — the home buyer — does not negotiate or pay the commission for his

or her broker.

       11.       Deepening the anticompetitive effects of the Adversary Commission Rule, NAR

rules also prohibit buyer brokers from making home purchase offers contingent on the reduction

of the buyer broker commission.

       12.       Real estate brokers handle most residential real estate sales in the United States. In

a typical transaction, one broker will represent the seller, and another broker will represent the


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buyer of a home. Both the buyer broker and seller broker (also known as the listing broker) are

paid a percentage of the property’s sales price. Currently, total broker compensation in the United

States is typically five to six percent of the home sales price, with approximately half of that

amount paid to the buyer broker.

       13.     In competitive foreign markets, home buyers pay their brokers, if they choose to

use one, and they pay less than half the rate paid to buyer brokers in the United States. These

international markets include United Kingdom, Germany, Israel, Australia, and New Zealand. In

these markets, which are not affected by any policy like the Adversary Commission Rule, buyer

brokers are paid by home buyers, rather than home sellers. According to the Executive Director

of the Consumer Federation of America, total commission rates in “a number of developed

countries” range “between 1% and 4%” whereas in the United States the average total commission

rates continue to remain between 5% and 6%, which is “no lower than it was in 2001” despite

significant advances in technology.3

       14.     Indeed, a 2015 report, commissioned by NAR to study negative emerging

trends in the real estate industry, highlighted concerns that total commissions in the United

States are inflated compared to international markets, such as the United Kingdom, Singapore,

the Netherlands, Australia, and Belgium. According to the report commissioned by NAR, in

those countries the average total commissions ranges between 1% and 3%. 4



3
   FTC-DOJ Joint Public Workshop, Segment 3 Tr., June 5, 2018, available at
https://www.ftc.gov/system/files/documents/videos/whats-new-residential-real-estate-brokerage-
competition-part-3/ftc-doj_residential_re_brokerage_competition_workshop_transcript_
segment_3.pdf.
4
 Swanepoel Group, D.A.N.G.E.R Report, at 22 (definitive analysis of negative game changers
emerging in real estate) (2015). The report also suggests that total commissions in Germany range
between 3% and 6%.

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          15.   As a representative of a brokerage that operates in both the United States and

internationally observed at an FTC/DOJ Joint Public Workshop on the real estate industry, “[i]t’s

hard to believe it’s 2018 and we’re in the US and the average commission fee is still between 5%

and 6% when we have one of the largest, most developed markets in the [world]. But we still

maintain that elevated level of commission expense.” (emphasis added). 5

          16.   The Adversary Commission Rule explains why commissions in the United States

remain artificially and anticompetitively “elevated” beyond where they would be in a market free

from Defendants’ conspiracy. Indeed, other industry participants recognize that “this seller

agent/buyer agent model” is why commission amounts are “very different” in the United States

compared to countries like “the UK,” as Defendants and their co-conspirators are “dead set on not

letting 6% commissions go away” in the United States.6

          17.   Defendants use their control of the MLSs — and the Corporate Defendants use

their agreements with their local franchisees, their employee policy and procedures manuals, and

leadership roles in NAR and local realtor associations — to require brokers in local residential

real estate markets to adhere to NAR’s rules, including the Adversary Commission Rule. Doing

so helps implement and enforce the conspiracy. The Corporate Defendants further implement the

conspiracy by reviewing NAR’s Rules and agreeing to them at yearly meetings, and NAR further

advances the conspiracy by re-issuing its Rules (including the Adversary Commission Rule).

Further, Defendants participate in and implement the conspiracy by serving on boards and



5
   FTC-DOJ Joint Public Workshop, Segment 2 Tr., June 5, 2018, available at
https://www.ftc.gov/system/files/documents/videos/whats-new-residential-real-estate-brokerage-
competition-part-2/ftc-doj_residential_re_brokerage_competition_workshop_transcript_
segment_2.pdf.
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    Id.
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committees that enforce compliance with NAR Rules.

        18.      Through these actions, and others alleged in this Complaint, each of the Corporate

Defendants, and NAR, has taken actions to further the conspiracy and thereby have agreed to join,

participate in, facilitate, and implement the conspiracy.

        19.      Defendants’ conspiracy has kept buyer broker commissions in the 2.5 to 3.0

percent range for many years despite the diminishing role of buyer brokers. Many home buyers

no longer search for prospective homes with the assistance of a broker, but rather independently

through online services. Upon information and belief, NAR and the Corporate Defendants have

studied and are aware of this trend and fact. Prospective home buyers increasingly retain a buyer

broker after the client has already found the home the client wishes to buy. Despite this

diminishing role for buyer brokers, their percentage of commission has remained steady, due to

Defendants’ conspiracy. And at the same time, because housing prices have significantly

increased during the last several years (far outpacing inflation) and because commissions are

calculated as a percentage of the home’s sale price, the actual dollar amounts have substantially

risen as well.

        20.      Defendants’ success in maintaining (and, in inflation-adjusted dollars, increasing)

the same artificially and anticompetitively inflated commission rates despite these technological

and social changes starkly contrasts with results in other industries. For example, the introduction

of the Internet and innovative or discount service providers have provided enormous financial

benefits to consumers of numerous goods and services in various sectors, such as travel booking,

insurance, banking, and stock brokering, as well as retailing and bookselling. Despite transaction

costs dramatically decreasing in myriad other sectors and industries, real estate commission rates

have persisted and remained steady in a range of 5% to 6%.


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          21.   The disconnect between buyer broker costs and commissions illustrates the effect

of Defendants’ conspiracy.      Whether a home purchased by their client costs $250,000 or

$2,500,000, the buyer broker’s costs are roughly similar. But the sum received by the buyer

broker as a commission is significantly greater for the more costly property. Why? Many if not

most of the services that buyer brokers provide do not vary based on the sale price, so in a rational,

competitive market the percentage fee should decrease as the home price increases. Instead, due

to Defendants’ conspiracy and anticompetitive practices such as the Adversary Commission Rule,

the commission overcharges imposed on home sellers bear little relation to the quantity or quality

of the services or value allegedly provided by the brokers who are paid the commissions. This

structure results from a lack of competition and makes no economic sense, except for the buyer

broker.

          22.   Moreover, another pernicious effect in the marketplace that results from and is

amplified by Defendants’ anticompetitive conspiracy is the practice of “steering.” That is, given

the requirement for seller brokers to make a blanket, unilateral offer of commission to buyer

brokers (which is visible through the MLS system only to other realtor participants, and not to

consumers), buyer brokers face strong incentives to “steer” their buyer clients toward homes

where the buyer broker would receive a greater commission percentage. Indeed, economic studies

have documented and confirmed the prevalence and significance of steering and further

“suggest[ed] that this could limit price competition.”7

          23.   Given that buyer brokers will not show homes to their clients where the seller



7
    See FTC-DOJ Joint Public Workshop, Segment 3 Tr., June 5, 2018, available at
https://www.ftc.gov/system/files/documents/videos/whats-new-residential-real-estate-brokerage-
competition-part-3/ftc-doj_residential_re_brokerage_competition_workshop_transcript_
segment_3.pdf.
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broker is offering a lower buyer-broker commission (or will show such homes later), seller brokers

face pressure in making their unilateral blanket offers to provide high commissions to buyer

brokers. In sum, the conspiracy has multiple illogical, harmful, irrational, and anticompetitive

effects, including that it: (a) requires sellers to pay overcharges for services provided by buyer-

brokers to the buyer, who is seller’s adversary in the transaction; (b) raises, fixes, and maintains

buyer-broker compensation at levels that would not exist in a competitive marketplace; and (c)

encourages and facilitates steering and other actions that impede innovation and entry by new and

lower-cost real estate brokerage service providers.

       24.     Defendants’ conspiracy has inflated buyer broker commissions, which, in turn,

have inflated the total commissions paid by home sellers such as Plaintiffs and the other Class

members. Plaintiffs and the other Class members have each incurred, on average, thousands of

dollars in overcharges and damages as a result of Defendants’ conspiracy.

       25.     For example, a class member who sells a house for $400,000 would have paid

roughly $10,000 to $12,000 in additional commissions to the buyer’s broker due to the conspiracy.

       26.     In a competitive market not affected by Defendants’ anticompetitive restraint, the

seller would pay nothing to the buyer broker, who would be paid instead by the buyer (their client),

and the total commission paid by the seller would be set at a level to compensate only the seller

broker. And even assuming arguendo that in a competitive market the seller would pay all or a

portion of the buyer broker’s commission, the commission would be far less than the 2.5 to 3.0

percent that is currently and typically paid to buyer brokers.

       27.     Moreover, in the absence of the Adversary Commission Rule, seller brokers would

likely face additional competitive pressures. That is, instead of following long-time practice of

setting total commissions at or near 6% and assigning roughly half of that amount to themselves


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and roughly the other half to the buyer broker commission (and selecting that amount at a level to

remain in the good graces of buyer brokers), seller brokers would set a commission to pay

themselves alone and would likely begin to engage in more vigorous competition with one another

to lower their rates and/or provide additional services to justify their newly transparent rates.

       28.     Plaintiffs, on behalf of themselves and the Class, sue for Defendants’ violations of

the federal and state antitrust laws as alleged herein, and seek treble damages, injunctive relief,

and the costs of this lawsuit, including reasonable attorneys’ fees. 8

       29.     Plaintiffs bring this lawsuit as a class action on behalf of home sellers who paid a

broker commission in the last four years in connection with the sale of residential real estate listed

on one of the following MLSs (“Subject MLS” or “Subject MLSs”):

               o   The Kansas City MLS, or the “Heartland MLS”;

               o   The St. Louis MLS, or the Mid America Regional Information System

                   MLS or the “MARIS MLS”;

               o   The Springfield, Missouri MLS, or the “Southern Missouri Regional

                   MLS”; and

               o   The Columbia, Missouri MLS, or the Columbia Board of Realtors MLS

                   or “CBOR MLS.”

                              JURISDICTION AND VENUE

       30.     This Court has subject matter jurisdiction under 28 U.S.C. §1332(d)(2), because

the Class defined herein contains more than 100 persons, the aggregate amount in controversy

exceeds $5,000,000, and at least one member of the Class is a citizen of a State different from



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 As noted, Plaintiffs also bring this action on behalf of themselves, the MMPA Class, and the
Missouri Antitrust Law Class. See infra at Count II and Count III.
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Defendants. Subject matter jurisdiction over this action also exists under 15 U.S.C. § 4 and under

28 U.S.C. §§ 1331, 1337.

        31.     This Court has personal jurisdiction over Defendants, each of which has been

properly served. Defendants have: (1) transacted substantial business in the United States,

including in this District; (2) transacted business with members of the Class throughout the United

States, including in this District; (3) had substantial contacts with the United States, including in

this District; and (4) committed substantial acts in furtherance of their unlawful scheme in the

United States, including in this District.

        32.     Each Defendant transacts substantial business in this District, as alleged

throughout this Complaint. For instance, for each of the Corporate Defendants, such substantial

business includes the extensive business operations of each of their real estate brokerage

subsidiaries, franchisees, and/or affiliates, which collectively are involved in a substantial

majority of residential real estate listings on the Subject MLSs and in sales occurring in the areas

covered by the Subject MLSs, including in this District. Each of the Corporate Defendants has

received millions of dollars in revenue attributable to business transacted in Missouri and in this

District from the brokerage operations of their respective subsidiaries, franchisees, and/or

affiliates that transact business in Missouri and in this District.

        33.     For NAR, it collects substantial revenues and fees from its nationwide membership

— including substantial numbers of members located and transacting business in Missouri,

including in this District — as public estimates suggest that NAR makes almost $200 million in

revenue every year, with most of that coming from member dues. Accordingly, during the Subject

MLS Class Period, NAR has collected millions of dollars, if not tens of millions of dollars, in

membership fees and revenues attributable to real estate brokerages, brokers, and/or realtors


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operating in the areas covered by the Subject MLSs (and within in this District).

       34.     In addition, NAR conducts and transacts substantial business in this District

through its involvement in drafting, reviewing, and publishing regularly updated editions of the

“Interpretations of the Code of Ethics,” with its 31st Edition published in 2019.           NAR’s

Interpretations of the Code of Ethics reflects that NAR, through its Professional Standards

Committee, interacts and conducts business with arbitration Hearing Panels and Boards of

Directors of local real estate associations (including local associations operating in areas covered

by the Subject MLSs) to review and articulate purported policies and principles that have been

applied in specific disputes involving realtors and that are also forward-looking “official

statements of [NAR’s] policy and are not merely advisory,” thereby governing arbitration of

disputes among realtors occurring in this District.

       35.     NAR requires each of the Corporate Defendants, as well as other co-conspirators

operating in this District, to comply with NAR policies, including its Handbook on Multiple

Listing Policy and Code of Ethics. Among the policies that NAR requires the Corporate

Defendants and other co-conspirators to follow in this District is the Adversary Commission Rule.

Upon information and belief, NAR actively monitors and polices the Corporate Defendants and

other co-conspirators operating in this District to ensure full compliance with its Rules and

Policies, including the Adversary Commission Rule. Failure to comply with the Adversary

Commission rule will result in removal of the entity or individual from NAR membership and, in

turn, expulsion from the Subject MLSs.

       36.     NAR also engages in substantial lobbying activities directed at various government

entities and political candidates, at the local, state, and federal levels. Upon information and

belief, NAR has transacted such lobbying business directed at Missouri and at this District.


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          37.   Venue is proper in this District under 15 U.S.C. § 22 and under 28 U.S.C. §1391(b),

(c), and (d). Each Defendant transacted business, was found, had agents and/or resided in this

District; a substantial part of the events giving rise to Plaintiffs’ claims arose in this District; and

a substantial portion of the affected interstate trade and commerce described herein has been

carried out in this District.

          38.   The Adversary Commission Rule and other anticompetitive NAR rules apply and

have been implemented by Defendants and co-conspirators in interstate commerce, including in

this District. These rules govern the conduct of local NAR associations, local brokers, and local

sales agents across multiple states, including but not limited to Missouri and the Subject MLSs.

Defendants’ conduct alleged herein has inflated buyer broker commissions nationwide including

in the areas in which the Subject MLSs operate, and has injured home sellers in those areas.

Defendant NAR, through its members and other co-conspirators, and the Corporate Defendants,

through their franchisees, subsidiaries, and/or affiliates, and other co-conspirators, are engaged in

interstate commerce, and are engaged in activities affecting interstate commerce, in the United

States.

                                         THE PARTIES

Plaintiffs

          39.   Joshua Sitzer and Amy Winger are citizens of Missouri and residents of Kansas

City, Missouri. On November 14, 2017, they sold a home located in the Kansas City metropolitan

area. The home was listed on the Heartland MLS. As a part of the sales transaction, Mr. Sitzer

and Ms. Winger paid a substantial buyer-broker commission, with the total broker commission

being 5.5%, of which 3% was paid to the buyer’s broker.

          40.   Scott and Rhonda Burnett are citizens of Missouri and residents of Kansas City,


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Missouri. On January 26, 2016, they sold a home located in the Kansas City metropolitan area.

The home was listed on the Heartland MLS.             In that sales transaction, the Burnetts were

represented by a ReeceNichols-affiliated realtor, and the buyer was represented by a Re/Max-

affiliated broker. As a part of the sales transaction, the Burnetts paid a substantial buyer-broker

commission, with a total broker commission of 6%, of which 3% was paid to the buyer’s broker.

          41.   Ryan Hendrickson is a citizen of Illinois and resident of Belleville, Illinois. On

May 10, 2019, he sold a home located in the St. Louis metropolitan area. The home was listed on

the MARIS MLS. As a part of the sales transaction, Mr. Hendrickson paid a substantial buyer-

broker commission, with a total broker commission of 6%, of which 3% was paid to the buyer’s

broker.

          42.   As set forth in this Complaint, Defendants’ unlawful conduct and conspiracy has

caused home sellers, including each of the Plaintiffs, to pay a buyer-broker commission and has

also increased the amount of the buyer-broker commission over the amount that would be charged

to the buyer in a competitive marketplace absent the Adversary Commission Rule and

Defendants’ conspiracy.

Defendants

          43.   Defendant National Association of Realtors, a lobbying group that advocates for

the interests of real estate brokers, has over 1.2 million individual members from whom it has

collected hundreds of millions of dollars in dues and membership fees during the Subject MLS

Class Period, including millions of dollars in dues and membership fees from NAR members

located in this District. NAR oversees fifty-four state and territorial realtor associations and over

1,200 local realtor associations. NAR is headquartered in Chicago, Illinois.

          44.   Defendant HomeServices of America, Inc. (“HomeServices”) is one of the


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nation’s largest real estate brokerages. It is headquartered in Minneapolis, Minnesota.

HomeServices is an affiliate of Berkshire Hathaway. HomeServices is a majority owner of

Defendant HSF Affiliates, LLC (“HSF Affiliates”). HSF Affiliates operates many real estate

franchise networks, including ReeceNichols Real Estate, HomeServices, Prudential Real Estate,

and Real Living. ReeceNichols Real Estate, for example, is by far the largest real estate brokerage

in the Kansas City Metropolitan area, with nearly three times as many transactions as its next

competitor, and is an affiliate of HomeServices, HSF Affiliaties, and/or Berkshire Hathaway. The

local gross sales of ReeceNichols Real Estate are also nearly three times as large as its next

competitor in the Kansas City Metropolitan area. In addition, in 2017 HomeServices acquired

Defendant The Long & Foster Companies, Inc., a large residential real estate company. Defendant

BHH Affiliates, LLC is a subsidiary of HSF Affiliates and offers real estate brokerage services.

This Complaint will use the term “HomeServices” to refer to Defendants HomeServices of

America, Inc., HSF Affiliates, LLC, BHH Affiliates, LLC, The Long & Foster Companies, Inc.,

as well as the other entities referred to in this paragraph and their other wholly owned or controlled

subsidiaries or affiliates.

        45.     Defendant Keller Williams Realty, Inc. (“Keller Williams”) is a privately held

company headquartered in Austin, Texas. It is one of the nation’s largest real estate brokerages,

and franchises local Keller Williams brokers around the country, including numerous franchisees

that transact substantial business in Missouri and in particular in this District.

        46.     Defendant Realogy Holdings Corp. (“Realogy”), a publicly traded corporation

with a market value exceeding $4 billion, has its headquarters in Madison, NJ. It owns, operates,

and franchises many real estate brokerage firms, including Better Homes and Garden Real Estate,

Century 21, Coldwell Banker, Sotheby’s International Realty, The Corcoran Group, ZipRealty,


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ERA Real Estate, Citi Habitats, and Climb Real Estate. Realogy is the nation’s largest real estate

brokerage company and has franchises in and transacts substantial business in Missouri and in

particular in this District.

        31.     Defendant RE/MAX, LLC (“RE/MAX”) franchises brokers around the country,

including in the Subject MLSs and in particular in this District. This Complaint will refer to

RE/MAX, LLC, its predecessors, and its wholly owned or controlled subsidiaries or affiliated as

“RE/MAX.”

        32.     Each of the Defendants has a significant presence in the markets covered by the

Subject MLSs and transacts substantial business in this District.

Co-Conspirators and Agents

        33.     In addition to the named Defendants, many other local realtor associations and real

estate brokers participated as co-conspirators in the violations alleged herein and performed acts

and made statements in furtherance thereof. Specifically, all who own, operate, and participate in

the Subject MLSs agree to, comply with, and implement the Adversary Commission Rule.

        34.     By adopting the Adversary Commission Rule, the Subject MLSs, among others,

have participated as co-conspirators in the antitrust violations and unfair practices alleged herein

and performed acts and made statements in furtherance thereof.

        35.     Furthermore, the franchisees and brokers of the Corporate Defendants agreed to,

complied with, and implemented the Adversary Commission Rule in the geographic areas covered

by the Subject MLSs and thereby have participated as co-conspirators in the antitrust violations

and unfair practices alleged herein and performed acts and made statements in furtherance thereof.

        36.     Defendants are jointly and severally liable for the acts of their co-conspirators

whether named or not named as defendants in this Complaint.


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                                   FACTUAL ALLEGATIONS

Real Estate Industry Background

          37.   State licensing laws regulate who can represent sellers and buyers in the real estate

market. There are two licensee categories: (1) the real estate broker (also known as a “brokerage

firm”), and (2) the individual real estate licensee or agent. Brokerage firms license individual real

estate realtors or agents and are legally responsible for the actions of their licensed realtors or

agents.

          38.   Licensed brokers are the only entities permitted by state law to be paid to represent

buyers or sellers in a real estate transaction. That is why real estate brokerage contracts with sellers

and buyers are required to be with brokers, not agents, and all payments to individual realtors or

agents pass through brokers.

          39.   Most brokers and their individual realtors or agents occupy dual roles: that is, a

broker may act as a seller broker for some home sales and act as a buyer broker for other home

sales.

          40.   According to NAR, 92% of sellers sold their home with the assistance of a real

estate broker in 2017, and 87% of buyers purchased their home with the assistance of a real estate

broker in 2017.

          41.   In typical residential real estate transactions, real estate brokers and agents receive

compensation through commissions that are calculated as a percentage of a home’s sale price, and

the commissions are paid when the home sells.

          42.   A seller broker’s compensation is set forth in a listing agreement, a contract

between the seller and the seller broker. The listing agreement includes the terms of the listing

and often provides that the seller broker has the exclusive right to market the seller’s home.


                                                  17


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Notably, due to the Adversary Commission Rule, the listing agreement specifies the total

commission that a home seller will pay to the seller broker and also specifies the amount earmarked

to be paid to the buyer broker (in the event the buyer has a broker).

         43.    When a buyer retains a broker, the buyer enters into a contract with that broker. The

contract typically discloses that the buyer broker will be compensated by receiving a commission

from the seller broker.

         44.    If the buyer has a broker, the seller broker pays the buyer broker a commission out

of the total commission paid by the seller. In fact, a standard of conduct in NAR’s Code of Ethics

permits and encourages buyer brokers to tell their clients that their services are free, which

obviously is not a true statement.

         45.    The result of these agreements and the Adversary Commission Rule is that buyer

brokers — who are supposed to assist their clients in negotiating against the seller — receive their

compensation from the total commission paid by the seller, not from the buyer they represent.

Real estate insiders recognize that the Adversary Commission Rule leads to a marketplace where

there is “a lot of confusion around how commissions work,” where even writers for real estate

publications “never get[] a very clear cut answer from the industry or from anyone” on the subject. 9

And other market participants agreed that the practice is “confusing” and that most consumers

“just don’t understand how commission works.”10

         46.    Absent the Adversary Commission Rule and in a competitive market (after all, a



9
     FTC-DOJ Joint Public Workshop, Segment 1 Tr., June 5, 2018 (link provided supra).
10
    FTC-DOJ Joint Public Workshop, Segment 2 Tr., June 5, 2018, available at
https://www.ftc.gov/system/files/documents/videos/whats-new-residential-real-estate-brokerage-
competition-part-2/ftc-doj_residential_re_brokerage_competition_workshop_transcript_
segment_2.pdf.
                                                 18


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seller has no incentive to compensate a buyer broker for actively negotiating against a seller’s

interests), a buyer would instead pay his or her broker, and a seller would agree to a pay a

commission that would go solely toward the seller’s own broker. The seller’s total broker

commission would thus be approximately half (or less) than the amount that sellers have paid as a

total commission to compensate both their selling broker and their adversary’s broker, the buying

broker.

Multiple Listing Services (MLSs) and the Adversary Commission Rule

          47.   An MLS is a database of properties listed for sale in a defined region that is

accessible to real estate brokers and their realtors or agents, if they are in compliance with the rules

of the MLS. The Subject MLSs are owned and operated by local realtor associations that are

members of, and governed by, NAR.

          48.   As required by NAR rules, seller brokers list their clients’ property on an MLS. If

a seller broker does not list a client’s property on an MLS, most buyer brokers will not show that

property to prospective buyers. MLSs also act as the main source of listings for online websites,

such as Zillow, through which many prospective home buyers find homes.

          49.   The Adversary Commission Rule requires a seller broker, on behalf of the seller, to

make a blanket, unilateral and effectively non-negotiable offer of compensation to buyer brokers

whenever listing a home on an MLS owned by a local NAR association. If a buyer represented by

a broker purchases the home, then the buyer broker receives the offered compensation.

Anticompetitive NAR Rules

          50.   The Adversary Commission Rule was adopted by NAR in 1996 in its Handbook on

Multiple Listing Policy (the “Handbook”). The rule has been in effect ever since.

          51.   Before the adoption of the Adversary Commission Rule in 1996, NAR played a


                                                  19


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central role in designing, implementing, and enforcing through the MLS system a similar and also

deceptive and flawed market structure in which all brokers involved in residential home sales

tended to represent the seller, either as the seller’s broker or as the “sub-agent” of the seller’s

broker.

          52.    Under this prevailing system of sub-agency, even if a broker was primarily working

with buyers, the broker remained legally obligated to represent the interests of sellers. 11

Accordingly, when a transaction closed, the seller would pay a total commission to the seller

broker, who would in turn compensate the “sub-agent” broker who had been working with the

buyer, albeit while owing legal and fiduciary obligations to the seller.

          53.    As a result of this confusing and misleading marketplace practice, many

homebuyers believed (mistakenly) that the sub-agent broker was working on their behalf. “When

this sub agency system, in which brokers working with buyers were legally obligated to pass

on information disadvantageous to their clients to sellers, was exposed through press coverage, it

collapsed almost overnight.”12

          54.    Once brokers working with buyers were no longer serving as “sub-agents” for the

seller’s broker, the prior practice of the seller paying commission to both brokers involved in the

transaction should have disappeared, as no justification remained to warrant it. However, that is

around when NAR and its co-conspirators stepped in to implement and enforce an anticompetitive

and deceptive scheme designed to continue and maintain supra-competitive commissions and



11
   Further information regarding the system of sub-agency is set forth in the following publication:
Stephen Brobeck & Patrick Woodall, How the Real Estate Cartel Harms Consumers and How
Consumers Can Protect Themselves, CONSUMER FED’N OF AM. (2006), available at
https://consumerfed.org/pdfs/Real_Estate_Cartel_Study061906.pdf.
12
     Id. at 3, available at https://consumerfed.org/pdfs/Real_Estate_Cartel_Study061906.pdf.
                                                 20


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impede innovation and lower-priced competition by requiring, through the Adversary Commission

Rule, that seller brokers make blanket, unilateral offers of compensation to buyer brokers when

listing a home on an MLS.

         55.   Specifically, in November 1996, NAR adopted the Adversary Commission Rule in

its Handbook on Multiple Listing Policy (the “Handbook”).

         56.   The NAR Board of Directors, and committees reporting to it, determine from time

to time whether to modify any policies in the Handbook, and the Board has approved certain

changes in recent years within the Subject MLS Class Period.

         57.   All policies that are retained unchanged, and all modified or revised or new policies,

are then set forth in new editions of the Handbook that tend to be issued annually. The Board of

Directors of NAR have consistently and repeatedly agreed and chosen to retain the Adversary

Commission Rule in the Handbook even in the face of criticism by economists and industry experts

that the Adversary Commission Rule is anticompetitive and causes supra-competitive commission

rates.

         58.   In revising and re-issuing the Handbook, NAR has invited each of the Corporate

Defendants and other co-conspirators to participate in the following agreement, combination, and

conspiracy: They can participate in the MLS, and gain the benefits provided by NAR and the

MLS, but only upon the condition that they agree to adhere to and enforce the anticompetitive

restraints set forth in the Handbook. Thus, to the extent any Corporate Defendant argues that it

was not involved in the initial drafting or adoption of the Adversary Commission Rule, that

argument lacks legal significance because each Corporate Defendant has joined the conspiracy and

agreed to abide by, implement, and enforce the Adversary Commission Rule.

         59.   The Handbook states the Adversary Commission Rule as follows:


                                                 21


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               In filing a property with the multiple listing service of an association of
               Realtors®, the participant of the service is making blanket unilateral offers
               of compensation to the other MLS participants, and shall therefore specify
               on each listing filed with the service, the compensation being offered to the
               other MLS participants.13

         60.   The Handbook further states that “[m]ultiple listing services shall not publish

listings that do not include an offer of compensation expressed as a percentage of the gross selling

price or as a definite dollar amount, nor shall they include general invitations by listing brokers to

other participants to discuss terms and conditions of possible cooperative relationships.” 14

         61.   The Adversary Commission Rule shifts a cost to the seller that would otherwise be

paid by the buyer in a competitive market. As the Wall Street Journal recently opined, the result

is that home sellers are effectively required to hire a buyer broker if they wish to list their home

on an MLS, which requires the services of a seller broker, and that this system is a “potentially

illegal tying arrangement under the Sherman Anti-Trust Act that keeps buying agents paid though

they offer almost no useful services.” 15

         62.   Moreover, the NAR requirement that the seller broker make a blanket, unilateral

offer provides an incentive for seller brokers to cooperate with buyer brokers by offering a high

commission for the buyer broker. And, of course, brokers often act as a selling broker in one

transaction but as a buyer broker in another, which fact further contributes to the competition-

restraining effects of the Adversary Commission Rule in that it fosters an environment in which

brokers work cooperatively to split a total commission, instead of openly competing to earn the


13
     NAR Handbook, at 65.
14
     NAR Handbook, at 35.
15
  Jack Ryan & Jonathan Friedland, When You Buy or Sell a Home, Realty Bites, WALL ST. J.
(Mar. 3, 2019), https://www.wsj.com/articles/when-you-buy-or-sell-a-home-realty-bites-
11551649734.

                                                 22


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business of both potential home sellers and potential home buyers based solely on the services to

be provided to that represented party. 16

       63.     As to the potential possibility that a buyer might seek to reduce his or her broker’s

commission by making that reduction a condition of a purchase offer, NAR has adopted another

rule that prevents this. Specifically, NAR’s Code of Ethics, Standard Practice 16-16, states:

               REALTORS, acting as subagents or buyer/tenant representatives or
               brokers, shall not use the terms of an offer to purchase/lease to attempt to
               modify the listing broker’s offer of compensation to subagents or
               buyer/tenant representatives or brokers nor make the submission of an
               executed offer to purchase/lease contingent on the listing broker’s
               agreement to modify the offer of compensation. 17

In other words, for a buyer broker even to present an offer to a seller that is conditional on the

seller reducing the buyer-broker commission would expressly violate NAR’s ethics rules. There

is nothing ethical or economically rational about Standard Practice 16-16, especially when coupled

with the Adversary Commission Rule.




16
   In addition, the requirement that the offer of compensation be “blanket” means that the
Adversary Commission Rule compels home sellers to make this financial offer without regard to
the experience or quality of the buyer-broker and without regard to the services or value being
provided by that buyer broker. The same “blanket” fee must be offered to a brand new buyer-
broker with no experience as that offered to a buyer-broker with many years of experience. In a
competitive and rational market, competitors with more experience and a track record of results
tend to command higher prices than new entrants with no experience or track record, but the
Adversary Commission Rule blocks this kind of competitive differentiation. Moreover, because
the offer is blanket and can be easily compared to the blanket offers that every other seller broker
must include and publish (to fellow brokers only) on the MLS, the Adversary Commission Rule
by design creates strong incentives for sellers and seller brokers to offer the high, standard
commission rates to buyer brokers that the conspiracy has long sought to maintain. Seller brokers
know that if they list a home and include a lower blanket offer of compensation to buyer brokers,
then due to the practice of “steering” the community of buyer brokers is likely to avoid showing
that home to their clients (potential home buyers).
17
  National Association of Realtors, Code of Ethics and Standard of Practice (Jan. 1, 2019),
available at https://www.nar.realtor/sites/default/files/documents/2019-COE.pdf.

                                                23


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       64.      NAR has published “Case Interpretations” that exacerbate the anticompetitive

effects of its ethics rules and provide a mirage of potential negotiation regarding the buyer broker

commission. For example, NAR’s Case Interpretation #16-15 states that negotiation over the

amount of a buyer broker’s commission may only occur if it is “completed prior to showing of the

property” by the buyer broker to the potential buyer. That is, the buyer broker, if inclined to reduce

the amount of buyer broker commission, must request a commission reduction before the broker

can even show the property to his or her client (the potential buyer). Obviously, the NAR Rule

and Case Interpretation practically and effectively guarantee that no such negotiations will ever

take place.18

       65.      But for the Adversary Commission Rule and other anticompetitive rules and

policies of NAR, buyers (not sellers) would pay the commission to their broker, and brokers would

have to engage in competition by offering lower commissions to prospective buyers. And, selling

brokers would face downward pressure on total commissions and renewed competition to earn

business from home sellers, as seller brokers would no longer be calculating their commission

rates to include any compensation for the buyer broker. 19

NAR’s Oversight and Enforcement of its Anticompetitive Rules

       66.      NAR has experienced success in requiring that its members — which include state


18
   Even if some negotiation does rarely occur, the Adversary Commission Rule still works to
elevate the baseline for any such rare negotiations. Just as an agreement to fix prices (or an
agreement to announce uniform price increases) is per se unlawful even though the marketplace
might reflect some potential negotiation with the conspirators’ customers, the Defendants’
conspiracy here is unlawful and anticompetitive because it elevates the baseline for any
negotiations.
19
    Even if one assumes for the sake of argument that, in a market free of the Adversary
Commission Rule, a seller continue to pay all or a portion of the buyer broker’s commission, the
commission would be far less than the 2.5 to 3.0 percent currently charged to home sellers like
Plaintiffs and paid to buyer brokers.
                                                 24


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and local realtor associations in the Subject MLSs and, in particular, in this District, as well as

non-member brokers and agents who operate in geographic areas with MLSs operated by local

realtor associations — comply with its anticompetitive rules and with other rules set out in the

Handbook and NAR’s Code of Ethics.

        67.    NAR requires that its members which own and operate MLSs comply with the

mandatory provisions in the Handbook and the Code of Ethics. The Handbook states that an

agreement by an association to establish an MLS must include “roles and responsibilities of each

association for enforcement of the Code of Ethics” and the “intent of the multiple listing service(s)

to operate in compliance with the multiple listing policies of the National Association.” 20

        68.    Local realtor associations own each of the Subject MLS and are required by NAR

to monitor their MLS and the MLS’s participants to ensure that they comply with mandatory

provisions from the NAR Handbook. Thus, each local realtor association and MLS, and each

participant in those associations and MLSs, agrees to the anticompetitive restraints challenged in

this lawsuit, and they all play important roles in implementing and enforcing those restraints.

        69.    Failure to strictly comply with the Code of Ethics can lead to expulsion for NAR’s

individual and associational members. NAR’s Code of Ethics and Arbitration Manual states:

               Any Member Board which shall neglect or refuse to maintain and
               enforce the Code of Ethics with respect to the business activities of its
               members may, after due notice and opportunity for hearing, be expelled
               by the Board of Directors from membership in the National
               Association.21

        70.    If a broker or agent were denied access to a local MLS, including the Subject MLS,



20
     NAR Handbook, at 9.
21
   National Association of Realtors, Code of Ethics and Arbitration Manual 2019, at 1, available
at https://www.nar.realtor/sites/default/files/documents/2019-CEAM.pdf.
                                                 25


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then that broker and its agents could not list properties for sale in the centralized database or receive

offers of compensation for finding a buyer for a listed property.

        71.     NAR’s model rules for local realtor associations operating in the Subject MLSs

also require adherence to NAR’s Code of Ethics.

        72.     NAR further penalizes and discourages potential noncompliance with its

anticompetitive rules by withholding professional liability insurance from any associations

operating under any bylaws or rules not approved by NAR.22 NAR’s position and monitoring of

potential non-compliance includes conduct to oversee and monitor associations that operate in and

transact business in the areas covered by the Subject MLSs and, in particular, in this District

        73.     NAR reviews the governing documents of its local realtor associations,

including those operating in the Subject MLSs and in this District, to ensure compliance with

NAR rules. NAR requires its local realtor associations, including those operating in the Subject

MLSs and in this District, to demonstrate their compliance with these rules by periodically

sending their governing documents to NAR for review.

The Corporate Defendants Designed, Joined, and Participated in the Conspiracy

        74.     The Corporate Defendants — HomeServices, Keller Williams, Realogy, and

RE/MAX — have agreed to adopt, promote, implement, and enforce the Adversary Commission

Rule through their active and direct involvement in NAR governance and by imposing NAR rules

on local real estate associations and the Corporate Defendants’ affiliated franchisees, brokers, and

employees. By participating in an association which prevents members from allowing their

associates to compete with one another for commissions (and which requires illegal tying




22
     NAR Handbook, at 8.
                                                   26


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arrangements), and by agreeing to follow and enforce these anticompetitive rules, the Corporate

Defendants have joined the conspiracy and acted to further its implementation and enforcement.

        75.     The Corporate Defendants have orchestrated, joined, and participated in the

alleged conspiracy in at least three ways: (1) the Corporate Defendants have required their

franchisees (and the agents       or realtors employed by those franchisees) operating in and

transacting business in the Subject MLSs and in this District to comply with NAR rules, including

the Adversary Commission Rule; (2) executives of the Corporate Defendants have supervised

NAR’s operations, including NAR’s adoption, maintenance, and enforcement of the Adversary

Commission Rule in the Subject MLLs and in this District; and (3) the Corporate Defendants have

caused their franchisees to influence local realtor associations within the Subject MLSs and in this

District to adopt and enforce NAR’s rules, including the Adversary Commission Rule.

        76.     First, the Corporate Defendants implemented the conspiracy by requiring that their

franchisees (and by necessary implication, the franchisees’ agents and realtors) in the geographic

areas in which the Subject MLSs operate to comply with NAR’s rules, including the Adversary

Commission Rule.

        77.     Franchise agreements between the Corporate Defendants and their franchisees

require those franchisees and their agents to (a) comply with NAR’s Code of Ethics; (b) join and

comply with the rules of the local realtor association; and (c) participate in and comply with the

rules of the local MLS, which include the mandatory rules in the NAR Handbook. Each of the

Corporate Defendants is party to one or more agreements with subsidiaries, franchisees, and/or

affiliates that are located in this District and that transact business in this District.

        78.     Second, executives from the Corporate Defendants, the four largest real estate

brokerage franchisors in the country, have actively participated in the management and operation


                                                    27


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of NAR. Indeed, senior executives of the Corporate Defendants have served on NAR’s governing

board of directors. For example, both Ronald J. Peltier, the Executive Chairman of HomeServices

of America, and Nancy Nagy, CEO of Berkshire Hathaway HomeServices KoenigRubloff Realty

Group, currently serve as directors of NAR, and Bruce Aydt, Senior Vice President and General

Counsel of Berkshire Hathaway HomeServices Alliance Real Estate, is the former Chair of NAR’s

Professional Standards Committee. Both NAR’s Handbook and in its Code of Ethics (and thus

the Adversary Commission Rule) were drafted, developed, and promulgated by NAR’s board of

directors or NAR’s Professional Standards Committee.

       79.    NAR’s day-to-day operations are managed by an eight-person Leadership Team.

In 2018, that team was dominated by executives of franchisees of the Corporate Defendants. For

example, the immediate past President of NAR, Elizabeth Mendenhall, is the CEO of RE/MAX

Boone Realty in Columbia, Missouri, one of the Subject MLSs in this lawsuit. The President of

NAR is John Smaby, a sales agent at Edina Realty, which is a HomeServices of America company.

NAR’s Vice President of Association Affairs, Colleen Badagliacco, is an agent for Legacy Real

Estate & Associates, which is a franchisee of a Realogy firm. The 2019 leadership team includes

John Smaby and Elizabeth Mendenhall, as well as Charlie Oppler, First Vice President and COO

of a Sotheby’s International Realty franchisee, and Tracy Kasper, Vice President of Advocacy

and a broker/owner of a Berkshire Hathaway franchisee.

       80.    Further, the following representatives from the Corporate Defendants or their

franchisees participated in the NAR Multiple Listing Issues and Policies Committee, responsible

for reviewing and reissuing the Handbook, in the past four years: Mike Nugent, Berkshire

Hathaway; Laurie Weston Davis, Better Homes and Gardens Real Estate; Kenneth Walker,

RE/MAX Paradigm Realty Group; Sue Cartun, Keller Williams; Mark Trenka, Century 21; and


                                              28


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Sam DeBord, Coldwell Banker.

       81.     Third, executives of franchisees of the Corporate Defendants have participated in

the governance of the local realtor associations that own and operate the Subject MLSs (and

participate in the governance of other local realtor associations), and they implemented the

conspiracy through those associations. Those executives and local realtor associations required

compliance with the NAR rules, including the Adversary Commission Rule, and adopted standard

form contracts to implement these NAR rules.

       82.     For example, in 2019 the Heartland MLS Board of Directors has an Executive

Committee whose members include representatives from RE/MAX Elite Realtors (affiliated with

and/or franchisee of RE/MAX), ReeceNichols Southgate (owned by and/or affiliated with

HomeServices), and BHG Kansas City Homes (owned by and/or affiliated with Realogy), while

multiple representatives from Kansas City-area Keller Williams franchisees or affiliates also serve

on the Board of Directors.

       83.     The Corporate Defendants actively encourage their franchisees to be involved in

local realtor association governance. For example, Keller Williams’ “Policy & Guidelines

Manual” encourages its agents to participate “to the greatest possible extent” in state NAR

associations and “to take an active role in” local realtor associations. The manual further stresses

cooperation with other realtors: “We cooperate and live by the spirit of cooperation with all other

REALTORS® and brokers.”23

       84.     Accordingly, in each of the areas in which the Subject MLS operate, including in

this District, the franchisees of the Corporate Defendants have joined and furthered the alleged


23
   Keller Williams Realty, Inc., Policies & Guidelines Manual (Apr. 1, 2019) at 51, 46 available
at https://s3.amazonaws.com/prodkwconnect-core/uploads/faq_resources_block_faqs_0_content/
5ca2613326ef7.pdf.
                                                 29


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conspiracy through their collaboration with local realtor associations to implement, comply with,

and enforce NAR’s rules, including the Adversary Commission Rule.

                             EFFECTS OF THE CONSPIRACY

       85.     Defendants’ conspiracy has had the following anticompetitive effects, among

others, in each area in which a Subject MLS operates:

               a.   Home sellers have been forced to pay commissions to buyer brokers —

                    who represent their adversaries in negotiations to sell their homes —

                    thereby substantially inflating the cost of selling their homes.

               b.   Home sellers have been compelled to set a high buyer-broker commission

                    to induce buyer brokers to show their homes to the buyer brokers’ clients.

               c.   Home sellers have paid inflated buyer-broker commissions and inflated

                    total commissions.

               d.   The retention of a buyer broker has been severed from the setting of the

                    broker’s commission; the home buyer retains the buyer broker, while the

                    home seller’s agent actually sets the buyer broker’s compensation.

               e.   Price competition among brokers to be retained by home buyers has been

                    restrained, as has price competition among brokers seeking to be retained

                    to sell homes.

               f.   Competition among home buyers has been restrained by their inability to

                    compete for the purchase of a home by lowering the buyer-broker

                    commission.

               g.   The Corporate Defendants and their franchisees have increased their

                    profits substantially by receiving inflated buyer-broker commissions and

                                                30


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                    inflated total commissions.

       86.     Plaintiffs are not aware of any pro-competitive effects of Defendants’ conspiracy,

which is plainly anticompetitive and injurious to competition. While the prior system of sub-

agency might partially explain the historical practice of sellers paying commission to both the

selling agent or broker and to the agent or broker working with and/or procuring the buyer, with

the demise of that confusing and misleading system no such justification remains for the seller to

continue paying the broker now working for and retained by the buyer.

       87.     To the extent Defendants may seek to argue that the MLS system in some abstract

fashion has certain pro-competitive benefits, none of these purported benefits depends in any way

upon specifying brokers’ respective commission rates.

       88.     Even if any alleged pro-competitive effects exist, they are substantially outweighed

by the conspiracy’s anticompetitive effects.

       89.     Substantial economic evidence supports the view that Defendants’ conspiracy has

resulted in inflated total commissions and inflated buyer-broker commissions paid by home

sellers, at levels far above what a competitive market would produce.

       90.     Compared to other countries with competitive markets for residential real estate

brokerage services, the commissions in the Subject MLSs are substantially higher. Economists

Natalya Delcoure and Norm Miller compared international real estate commissions with those in

the United States.24 They concluded:

               Globally, we see much lower residential commission rates in most of
               the other highly industrialized nations, including the United Kingdom
               (UK), Hong Kong, Ireland, Singapore, Australia, and New
               Zealand . . . . In the UK, the [total] commission rates average less than

24
  See Natalya Delcoure & Norm G. Miller, International Residential Real Estate Brokerage Fees
and Implications for the US Brokerage Industry, 5 Int’l Real Estate Review 12 (2002).

                                                31


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                  2%. . . . In New Zealand and South Africa, [total] commission rates
                  average 3.14%. In Singapore, the [total] commission rates also tend to
                  run around 3%.25

          91.     Delcoure and Miller also found variation within countries. For example, in the

UK, they found that “1%-2% is typical” for total broker commissions, but that in “very

competitive areas” the total rates ranged between “0.5-0.75%” whereas in lower priced areas the

range was “as high as 3.5%.”26 Ultimately, the economists concluded that, “based on global data,

the [total] US residential brokerage fees should run closer to 3.0%.” 27

          92.     In comparison, the total broker commissions (i.e., the aggregate commission paid

to the seller broker and buyer broker) in the areas in which the Subject MLSs operate average

between 5% and 6%, with buyer broker commissions by themselves holding steady in a range

between 2.5% and 3%. These numbers have remained stable despite both rising home prices

(which lead to larger commission amounts) and the decreasing role of the buyer broker in an age

when many prospective home buyers have already scoured the market using Zillow or other

websites. Indeed, upon information and belief, a representative of Defendant Keller Williams

reported to other industry participants that its buyer brokers were receiving an average

commission of 2.7% in 2015, an amount nearly identical to the 2.8% it reported in 2002.

          93.     Other economists have reached similar conclusions. A Professor of Economics

from Cornell University has described the Adversary Commission Rule — that is, the NAR

requirement of having “the seller pay[] for the commission of both the listing [selling] agent and




25
     Id. at 14.
26
     Id. at 17.
27
     Id. at 13.

                                                  32


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the cooperative [buyer’s] agent” — as a “structural hurdle” that has prevented innovation and

price competition in the real estate market. 28 This “hurdle” exists only because of Defendants’

anticompetitive conspiracy and does not stem from any actual or unique structural aspect of real

estate markets.

         94.      In addition, Defendants’ conspiracy exerts particularly strong effects in certain of

the Subject MLSs, in particular the Heartland MLS that covers the Kansas City Metropolitan area

and includes parts of Missouri and Kansas. That is, as noted by the Antitrust Division of the

United States Department of Justice, ten states prohibit buyer brokers from offering rebates to

buyers.29 Kansas and Missouri are both among those ten states that prohibit such rebates to buyers

paid out of a buyer broker’s commission.            This aspect of state law makes Defendants’

anticompetitive conspiracy even more effective in the Subject MLSs and easier to enforce, in that

state law has foreclosed one potential avenue through which buyer brokers might attempt to

compete with one another for prospective home buyers. As observed by the Consumer Federation

of America, when an anti-rebate law is combined with “the coupling of listing and buyer

brokerage” commission rates, as required by the Adversary Commission Rule, “there’s just really

no hope for effective [price] competition on the buyer’s side.” 30

         95.      The Adversary Commission Rule encourages and facilitates anticompetitive



28
     See FTC-DOJ Joint Public Workshop, Segment 3 Tr., June 5, 2018, available at
https://www.ftc.gov/system/files/documents/videos/whats-new-residential-real-estate-brokerage-
competition-part-3/ftc-doj_residential_re_brokerage_competition_workshop_transcript_
segment_3.pdf
29
     See https://www.justice.gov/atr/consumers-save-thousands-commissions.
30
    See FTC-DOJ Joint Public Workshop, Segment 3 Tr., June 5, 2018, available at
https://www.ftc.gov/system/files/documents/videos/whats-new-residential-real-estate-brokerage-
competition-part-3/ftc-doj_residential_re_brokerage_competition_workshop_transcript_
segment_3.pdf
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steering away from brokers who deviate from the “standard” commission practices and rates.

Keller Williams, through materials prepared for its “Keller Williams University” program used to

train realtors, boasts that “the standard real estate commission has stabilized, over the years, at

right around 6 percent.” The Adversary Commission Rule enables buyer brokers to identify and

compare the buyer-broker compensation offered by every seller in the Subject MLSs and then

steer their clients toward homes offering higher commissions.

       96.     Defendant Keller Williams even trains its seller brokers on how to persuade home

sellers not to reduce the buyer-broker commission to be offered and do so based on a presumption

that steering is widespread and will occur. In materials for its “Keller Williams University,”

Keller Williams provides “scripts” with recommended talking points to be used to address

potential concerns or questions from home sellers. One such “script” from the Keller Williams

University materials is below:




                                                34


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       97.     In an earlier script (“Explaining How Commission Is Used: Script #2”), the Keller

Williams guide suggests that a realtor point out that “the homes that are really selling almost

always have 3 percent to the other agent,” in contrast to “these other listings where they’re asking

just 2.5 percent for the other agent.”

       98.     This practice of steering, confirmed by economic literature and by Defendants’

own training materials, has manifest anticompetitive effects. Steering deters reductions from the

“standard” commission and enables brokers to avoid doing business with, or to retaliate against,

buyer brokers who try to compete by offering significant discounts.

                                                 35


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       99.       The Corporate Defendants, and their franchisees and brokers and other co-

conspirators, also appear to use software technology to help facilitate steering based on MLS

commission information. They have taken further actions to prevent buyers from learning about

properties that offer discount buyer-broker commissions.

       100.      CoreLogic is a software technology company that provides software and data

services to many MLSs around the country and, upon information and belief, to the Subject MLSs.

CoreLogic’s software program is called “Matrix.” Matrix has features that allow a broker to create

and curate a tailored electronic listing of potential properties to send to their buyer clients when

those properties match certain criteria applicable to that buyer client’s interests. The Matrix

software allows the broker, however, to filter listings by the buyer-broker commission being

offered, which means that the buyer broker can use the Matrix software to ensure that his or her

client only receives information about potential homes offering buyer-broker commission in a

desired range.

       101.      The Antitrust Division of the United States Department of Justice is now

conducting an active investigation into potentially anticompetitive practices in the residential real

estate brokerage business, including a focus on compensation to brokers and restrictions on their

access to listings. The Antitrust Division has recently served Civil Investigative Demands

(“CIDs”) as part of its investigation into “[p]ractices that may unreasonably restrain competition

in the provision of residential real-estate brokerage services.” 31

       102.      The CID that the Antitrust Division served on CoreLogic directed it to produce

“all documents relating to any MLS member’s search of, or ability to search, MLS listings on any



31
   Civil Investigative Demand to CoreLogic, U.S. Dept. of Justice, No. 29938 (issued April 16,
2019).
                                                  36


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of the Company’s multiple listing platforms, based on (i) the amount of compensation offered by

listing brokers to buyer brokers; or (ii) the type of compensation, such as a flat fee, offered by

listing brokers to buyer brokers.”32

           103.   In addition, NAR has enacted certain other rules and policies — which the

Corporate Defendants have helped draft and then abided by, agreed to, and implemented — that

further exacerbate the anticompetitive effects of steering. That is, requiring that the offered buyer-

broker commission be specified in only certain ways (such as a percentage of the sale price) makes

it easy for realtor participants to see and compare offers. Further, Defendants have ensured that

while realtors can easily see buyer-broker compensation offers, regular home buyers and sellers

cannot see such information whenever they are permitted access to view MLS listings (through a

virtual office, for example). NAR also prohibits such information from being shared or disclosed

through data sharing arrangements with third-party websites (such as Zillow) or other MLS

syndication services.

           104.   At the same time, the NAR Rules mandate that commission price information be

listed and shared among brokers and realtors. Such a one-way, concealed information flow

prevents price competition that could benefit consumers while allowing brokers to exert upward

pressure on pricing and to punish fellow brokers and realtors who deviate downward on

commission rates. And because home sellers and potential home buyers do not have access to

information reflecting the blanket, unilateral offers of buyer-broker compensation, they have

essentially no ability to detect steering by buyer brokers if it is taking place.

           105.   The economic evidence is plain that the Adversary Commission Rule works to

restrain competition in several respects in real estate markets with the result being that home


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     Id.
                                                  37


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sellers pay far more than they otherwise should.

       106.    Defendants’ conspiracy and the Adversary Commission Rule was designed to keep

real estate commissions at elevated, supra-competitive levels, and Defendants have managed to

keep the “standard real estate commission” “stabilized . . . at right around 6 percent” for many

years, despite significant changes in technology that should have substantially reduced

commission charges.

              RELEVANT MARKETS AND DEFENDANTS’ MARKET POWER

       107.    The relevant service market for the claims asserted herein is the bundle of services

provided to home buyers and sellers by residential real estate brokers with access to the Subject

MLSs. Defendants’ control of the Subject MLSs allows Defendants to impose the Adversary

Commission Rule and other anticompetitive NAR rules on Class members and other market

participants. Access to the Subject MLSs is critical for brokers to compete and to assist home

buyers and sellers in the areas in which those MLSs operate.

       108.    The relevant geographic markets for the claims asserted herein are no broader than

the geographic areas in which the four Subject MLSs operate. Nearly all homes sold in these

geographic areas were listed on the MLS by brokers that are subject to the MLS and NAR rules

and standards. The residential real estate business is local in nature. Most sellers prefer to work

with a broker who is familiar with local market conditions and who maintains an office or

affiliated sales associates located reasonably near the seller’s property. Likewise, most buyers

seek to purchase property in a particular city, community, or neighborhood, and typically prefer

to work with a broker who has knowledge of the area where the buyer has an interest.

       109.    The Corporate Defendants, through their co-conspirator franchisees and other

conspiring brokers in the areas in which the Subject MLSs operate, collectively provide the vast


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majority of the residential real estate broker services in these areas and in this District.

        110.    Defendants and their co-conspirators collectively have market power in each

relevant market through their control of the local MLS and their dominant share of the local

market.

        111.    Any buyer brokers in the areas in which the Subject MLSs operate who wished to

compete outside of Defendants’ conspiracy would face insurmountable barriers. Defendants’

effective control of the Subject MLSs through their co-conspirators (i.e., through their local

franchisees, other local brokers, and the local realtor associations) means that non-conspiring

brokers would need to establish an alternative listing service to compete with the conspiring

brokers, or alternatively, attempt to compete without access to a listing service.

        112.    A seller’s broker without access to a listing service like the Subject MLS would be

unable to reach the large majority of potential buyers, and a broker who represented a buyer

without using a listing service would lose access to the large majority of sellers. Brokers cannot

compete effectively without access to a listing service.

        113.    For an alternative listing service to compete effectively with one of the Subject

MLSs, the alternative would need to have listings as comprehensive (or at least nearly so) as the

Subject MLS. But Brokers and their individual realtors or agents who currently profit from

inflated buyer broker commissions and total commissions have minimal incentive to participate

on an alternative listing service that would generate lower total commissions and lower buyer

broker commissions and seller broker commissions. Further, many buyers would be reluctant to

retain a buyer broker operating on an alternative listing service that required them to pay the buyer

broker commission, when other buyer brokers operating on the Subject MLSs are entirely

compensated by home sellers. Accordingly, seller brokers on an alternative listing service would


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struggle to attract buyer brokers and their buyer clients.

       114.    Moreover, many home sellers would not retain brokers using a new, unfamiliar

alternative listing service that had no track record of success and had failed to attract sufficient

buyers and buyer brokers. Any listing service attempting to compete with any of the Subject MLSs

would likely fail to attract enough property listings to operate profitably and be a competitive

constraint on the incumbent MLS. The absence of listing services that compete with the Subject

MLSs (or other MLSs) reflects the very substantial barriers to entry.

       115.    As an additional impediment to potential competition, NAR advises MLSs to enter

into non-compete agreements with third-party websites, such as Zillow, so that those websites do

not become competitive rivals to MLSs. NAR’s checklist of “critical components” states that the

consumer-facing website “must agree they will not compete with the brokerage firms or MLS by

either becoming a licensed brokerage firm or by providing offers of cooperation and

compensation.” The non-compete agreement requires the consumer-facing website to agree not

to “use the data in a manner that is similar to a Multiple Listing Service.” NAR has thus advised

MLSs to take affirmative steps to further the alleged conspiracy by preventing third-party websites

from becoming possible competitors.

       116.    NAR has also previously taken actions to stifle innovation and competition among

real estate brokers, including actions which led to the Antitrust Division of the Department of

Justice (“DOJ”) filing a lawsuit to enjoin a NAR “policy that obstruct[ed] real estate brokers who

use innovative Internet-based tools to offer better services and lower costs to consumers.” NAR

ultimately agreed to a Final Judgment in which it agreed to modify and abandon its challenged




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policy.33 The DOJ’s lawsuit illustrates that NAR has a history of formulating, adopting, and

enforcing anticompetitive policies — like the Adversary Commission Rule challenged in this case

— that stifle innovation and restrain competition in violation of federal law. NAR and the real

estate industry’s history of anticompetitive conduct extends much farther back as well, in that for

much of the first half of the 20th Century realtors operated under express agreements to use

specified commission percentages in home sale transactions, until the United States Supreme

Court declared that scheme an illegal price-fixing arrangement under the federal antitrust laws in

United States v. Nat’l Ass’n of Real Estate Bds., et al., 339 U.S. 485 (1950).

                                   CONTINUOUS ACCRUAL

        117.       During the four years preceding the filing of this Complaint, Defendants, through

their co-conspirator brokers in the areas in which the Subject MLSs operate, repeatedly charged

and received buyer-broker commissions and total commissions that were inflated as a result of

the conspiracy. These inflated commissions during the preceding four years were paid by

Plaintiffs and the other Class members in connection with the sale of residential real estate listed

on one of the Subject MLSs. Each payment of these inflated commissions by Plaintiffs and the

other Class Members during the last four years injured them and gave rise to a new cause of action

for that injury.

        118.       During the last four years, Defendants and their co-conspirators have maintained,

implemented, and enforced the Adversary Commission Rule and other anticompetitive NAR rules

nationwide, including in the areas in which the Subject MLSs operate and in this District.




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    See https://www.justice.gov/archive/atr/public/press_releases/2005/211008.htm; see also
https://www.justice.gov/atr/case-document/final-judgment-142.
                                                   41


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                             CLASS ACTION ALLEGATIONS

       119.     Plaintiffs bring this action on behalf of themselves, and as a class action under

Federal Rule of Civil Procedure 23, on behalf of the members of the following Class (“the Subject

MLS Class”):

                All persons and entities in the United States who, from April 29, 2015
                through the present, paid a broker commission in connection with the
                sale of residential real estate listed on one of Subject MLS.

       120.     Plaintiffs also bring this action on behalf of themselves, and as a class action under

Federal Rule of Civil Procedure 23 on behalf of the members of the following Class (“the MMPA

Class”):

                All persons and entities in the United States who, from April 29, 2014
                through the present, paid a broker commission in connection with the
                sale of residential real estate in Missouri listed on one of Subject MLS.

       121.     Plaintiffs also bring this action on behalf of themselves, and as a class action under

Federal Rule of Civil Procedure 23 on behalf of the members of the following Class (“the Missouri

Antitrust Law Class”):

                All persons and entities in the United States who, from April 29, 2015
                through the present, paid a broker commission in connection with the
                sale of residential real estate in Missouri listed on one of Subject MLS.

       122.     Excluded from the Classes are Defendants, their officers, directors and employees;

any entity in which Defendant has a controlling interest; and any affiliate, legal representative,

heir or assign of any Defendant. Also excluded from the Classes are any judicial officer(s)

presiding over this action and the members of his/her/their immediate family and judicial staff,

jurors, and Plaintiffs’ counsel and employees of their law firms.

       123.     The Classes are readily ascertainable because records of the relevant transactions

should exist.
                                                  42


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       124.       The Class members are so numerous that individual joinder of all its members is

impracticable. Due to the nature of the trade and commerce involved, Plaintiffs believe that the

Classes have many thousands of members, the exact number and their identities being known to

Defendants and their co-conspirators.

       125.       Plaintiffs will fairly and adequately protect the interests of the members of the

Classes. Plaintiffs’ interests are aligned with, and not antagonistic to, those of the other members

of the Classes.

       126.       Common questions of law and fact exist as to all members of the Classes and

predominate over questions affecting only individual Class members. These common legal and

factual questions, each of which also may be certified under Rule 23(c)(4), include but are not

limited to the following:

                  a.   Whether Defendants engaged in the alleged conspiracy;

                  b.   Whether the conspiracy was implemented in the areas in which the

                       Subject MLSs operate;

                  c.   Whether the conduct of Defendants’ and their co-conspirators caused

                       injury to the business or property of Plaintiffs and the other members of

                       the Classes;

                  d.   Whether the effect of Defendants’ conspiracy was to inflate both total

                       commissions and buyer broker commissions in the areas in which the

                       Subject MLSs operate;

                  e.   Whether the competitive harm from the conspiracy substantially

                       outweighs any competitive benefits;

                  f.   Whether Plaintiffs and the other members of the Classes are entitled to,


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                     among other things, injunctive relief, and, if so, the nature and extent of such

                     injunctive relief;

               g.    Whether Defendants’ conduct is unlawful; and

               h.    The appropriate class-wide measures of damages.

       127.    Plaintiffs’ claims are typical of the claims of the members of the Classes because

their claims arise from the same course of conduct by Defendants and the relief sought within the

Classes is common to each member.

       128.    Plaintiffs have retained counsel competent and experienced in the prosecution of

antitrust class action litigation to represent themselves and the Classes. Together Plaintiffs and

their counsel intend to prosecute this action vigorously for the benefit of the Classes. The interests

of Class members will be fairly and adequately protected by Plaintiffs and their counsel.

       129.    A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. The prosecution of separate actions by individual members of

the Classes would impose heavy burdens on the Court and Defendants, and would create a risk of

inconsistent or varying adjudications of the questions of law and fact common to the Classes. A

class action, on the other hand, would achieve substantial economies of time, effort, and expense,

and would assure uniformity of decision as to persons similarly situated without sacrificing

procedural fairness or bringing about other undesirable results. Absent a class action, it would not

be feasible for the members of the Classes to seek redress for the violations of law alleged herein.

       130.    Additionally, the Classes may be certified under Rule 23(b)(1) and/or (b)(2)

because:

               a.    The prosecution of separate actions by individual Class members would

                     create a risk of inconsistent or varying adjudications with respect to

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                    individual Class members that would establish incompatible standards of

                    conduct for Defendants;

              b.    The prosecution of separate actions by individual Class members would

                    create a risk of adjudications with respect to them which would, as a

                    practical matter, be dispositive of the interests of other Class members

                    not parties to the adjudication, or substantially impair or impede their

                    ability to protect their interests; and/or

              c.    Defendants have acted or refused to act on grounds generally applicable

                    to the Classes, thereby making appropriate final and injunctive relief with

                    respect to the Class members as a whole.

                                   ANTITRUST INJURY

       131.   Defendants’ anticompetitive agreements and conduct have had the following

effects, among others:

              a.    Sellers of residential property have been forced to pay inflated costs to

                    sell their homes through forced payments of commissions to buyer

                    brokers;

              b.    Home sellers have been forced to set buyer broker commissions to induce

                    buyer brokers to show the sellers’ homes to prospective buyers;

              c.    Price competition has been restrained among brokers seeking to be

                    retained by home buyers, and by brokers seeking to represent home

                    sellers; and

              d.    The Corporate Defendants and their franchisees have inflated their profits

                    by a significant margin by the increased total commissions and increased


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                     buyer broker commissions.

       132.     By reason of the alleged violations of the antitrust laws, Plaintiffs and the Class

have sustained injury to their businesses or property, having paid higher total commissions than

they would have paid in the absence of Defendants’ anticompetitive conspiracy, and as a result

have suffered damages.

       133.     There are no pro-competitive effects of Defendants’ conspiracy that are not

substantially outweighed by the conspiracy’s anticompetitive effects.

       134.     Significant economic evidence supports concluding that Defendants’ conspiracy

has resulted in Class members paying buyer-broker commissions and total commissions that have

been inflated to a supra-competitive level in the areas in which the Subject MLS operate.

       135.     This is an antitrust injury of the type that the antitrust laws were meant to punish

and prevent.

                                   CLAIMS FOR RELIEF

                                         COUNT I:
                  Violation of Section 1 of the Sherman Act, 15 U.S.C. § 1
                                   Against all Defendants
                       (Brought on behalf of the Subject MLS Class)

       136.     Plaintiffs repeat and incorporate by reference each paragraph above and in any

other count of this Complaint.

       137.     Beginning more than four years before the filing of this Complaint, and continuing

into the present, Defendants engaged in a continuing contract, combination, or conspiracy to

unreasonably restrain interstate trade and commerce in violation of Section 1 of the Sherman Act,

15 U.S.C § 1.

       138.     The conspiracy alleged herein consists of a continuing agreement among

Defendants and Defendants’ co-conspirators to require sellers of residential property to make

                                                 46


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inflated payments to the buyer broker.

       139.    In furtherance of the contract, combination, or conspiracy, Defendants and their

co-conspirators have committed one or more of the following overt acts:

               a.    Participated in the creation, maintenance, re-publication, and implementation

                     of the Adversary Commission Rule and other anticompetitive NAR rules;

               b.    Participated in the establishment, maintenance, and implementation of rules

                     by local NAR associations and MLSs that implemented the Adversary

                     Commission Rule and other anticompetitive NAR rules in the areas in which

                     the Subject MLSs operate; and

               c.    Requiring franchisees of the Corporate Defendants and others to implement

                     the Adversary Commission Rule and other anticompetitive NAR rules in the

                     areas in which the Subject MLSs operate, which each Corporate Defendant

                     does through its franchise agreements, policy manuals, and other contracts

                     with its franchisees, affiliates, subsidiaries, and realtors.

       140.    Defendants’ conspiracy has required sellers to pay buyer brokers, to pay an inflated

buyer-broker commission and an inflated total commission, and it has restrained price competition

among buyer brokers in the areas in which the Subject MLSs operate. This harm to competition

substantially outweighs any competitive benefits arising from the conspiracy.

       141.    Defendants’ conspiracy has caused buyer-broker commissions and total

commissions in the areas in which the Subject MLSs operate to be inflated. Plaintiffs and the other

members of the Class paid these inflated commissions during (and before) the last four years in

connection with the sale of residential real estate listed on one of the Subject MLSs. Absent

Defendants’ conspiracy, Plaintiffs and the other Class members would have paid substantially


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lower commissions because the broker representing the buyer of their homes would have been

paid by the buyer.

       142.       Defendants’ conspiracy is a per se violation under the federal antitrust laws,

specifically 15 U.S.C. § 1.

       143.       In the alternative, Defendants’ conspiracy is illegal under the federal antitrust laws

and violates 15 U.S.C. § 1 under a rule-of-reason analysis.

       144.       As a direct and proximate result of Defendants’ past and continuing violation of

Section 1 of the Sherman Act, 15 U.S.C. § 1, Plaintiffs and the other Class members have been

injured in their business and property and suffered damages in an amount to be proven at trial.

                                            COUNT II:
                      Violation of the Missouri Merchandising Practices Act
                                     Against all Defendants
                             (Brought on behalf of the MMPA Class)

       145.       Plaintiffs repeat and incorporate by reference each paragraph above and in any

other count of this Complaint.

           146.      The Missouri Merchandising Practices Act (“the Act”) provides that “[t]he act,

 use or employment by any person of any deception . . . [or] unfair practice, or the concealment .

 . . of any material fact in connection with the sale or advertisement of any merchandise in trade

            or commerce . . . is declared to be an unlawful practice.” Mo. Rev. Stat. § 407.020.1.

       147.       The enabling regulations for the Act define an “unfair practice” as conduct that (1)

offends public policy; (2) is unethical, oppressive, and unscrupulous; (3) causes a risk of

substantial injury to consumers; (4) was not in good faith; (5) is unconscionable; or (6) is unlawful.

See Mo. Code Regs. Ann. tit. 15, § 60-8.

       148.       Under the Act, the term “merchandise” is broadly defined to include “any

objects . . . or services.” Mo. Rev. Stat. § 407.020.4.

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         149.   The Act authorizes private causes of action, and class actions. Mo. Rev. Stat.

§§ 407.025.1; 407.025.2.

         150.   Plaintiffs purchased services from Defendants and other members of the

conspiracy in the form of real estate broker services.

         151.   As set forth herein, Defendants’ conduct is unlawful and in violation of public

policy governing the restraint of trade.

         152.   Defendant’s violations of the Act were willful and knowing.

         153.   Plaintiffs and Class members seek actual damages; a declaration that Defendants’

methods, acts and practices violate the Missouri Merchandising Practices Act, Mo. Rev. Stat.

§§ 407.010 et seq.; restitution; rescission; disgorgement of all profits obtained from Defendants’

unlawful conduct; pre- and post-judgment interest; punitive damages, and attorneys’ fees and

costs.

                                      COUNT III:
            Violation of the Missouri Antitrust Law, Mo. Rev. Stat. § 416.031
                                 Against all Defendants
                (Brought on behalf of the Missouri Antitrust Law Class)

         154.   Plaintiffs repeat and incorporate by reference each paragraph above and in any

other count of this Complaint.

         155.   Beginning more than four years before the filing of this Complaint, and continuing

into the present, Defendants engaged in a continuing contract, combination, or conspiracy to

unreasonably restrain trade and commerce in Missouri in violation of the Missouri Antitrust Law,

Mo. Rev. Stat. § 416.031.

         156.   The conspiracy alleged herein consists of a continuing agreement among

Defendants and Defendants’ co-conspirators to require sellers of residential property to make

inflated payments to the buyer broker.

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       157.    In furtherance of the contract, combination, or conspiracy, Defendants and their

co-conspirators have committed one or more of the following overt acts:

               a.    Participated in the creation, maintenance, re-publication, and implementation

                     of the Adversary Commission Rule and other anticompetitive NAR rules;

               b.    Participated in the establishment, maintenance, and implementation of rules

                     by local NAR associations and MLSs that implemented the Adversary

                     Commission Rule and other anticompetitive NAR rules in the areas in which

                     the Subject MLSs operate; and

               c.    Requiring franchisees of the Corporate Defendants and others to implement

                     the Adversary Commission Rule and other anticompetitive NAR rules in the

                     areas in which the Subject MLSs operate, which each Corporate Defendant

                     does through its franchise agreements, policy manuals, and other contracts

                     with its franchisees, affiliates, subsidiaries, and realtors.

       158.    Defendants’ conspiracy has required sellers to pay buyer brokers, to pay an inflated

buyer-broker commission and an inflated total commission, and it has restrained price competition

among buyer brokers in the areas in which the Subject MLSs operate. This harm to competition

substantially outweighs any competitive benefits arising from the conspiracy.

       159.    Defendants’ conspiracy has caused buyer-broker commissions and total

commissions in the areas in which the Subject MLSs operate in Missouri to be inflated. Plaintiffs

and the other members of the Class paid these inflated commissions during (and before) the last

four years in connection with the sale of residential real estate located in Missouri and listed on

one of the Subject MLSs. Absent Defendants’ conspiracy, Plaintiffs and the other Class members

would have paid substantially lower commissions because the broker representing the buyer of


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their homes would have been paid by the buyer.

       160.   Defendants’ conspiracy is a per se violation under the Missouri Antitrust Law.

       161.   In the alternative, Defendants’ conspiracy is illegal under the Missouri Antitrust

Law under a rule-of-reason analysis.

       162.   As a direct and proximate result of Defendants’ past and continuing violation of

the Missouri Antitrust Law, Plaintiffs and the other Class members have been injured in their

business and property and suffered damages in an amount to be proven at trial.

       163.   Under Mo. Rev. Stat. § 416.121, Plaintiffs’ are entitled to an award of threefold

damages and reasonable attorneys’ fees.

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of themselves and all others similarly situated,

requests relief and prays for judgment against Defendants as follows:

       A.      An Order certifying the Classes under the appropriate provisions of Rule 23 of the

Federal Rule of Civil Procedure, and appointing Plaintiffs and their counsel to represent the

Classes;

       B.     Declarations that the actions of Defendants, as set forth above, are unlawful;

       C.     A permanent injunction under Section 16 of the Clayton Act enjoining Defendants

from (1) requiring that sellers pay the buyer broker, (2) continuing to restrict competition among

buyer brokers and seller brokers, and (3) engaging in any conduct determined to be unlawful;

       D.     A permanent injunction under the MMPA enjoining Defendants from engaging in

conduct in violation of the MMPA;

       E.     Appropriate injunctive and equitable relief;

       F.     An award to Plaintiffs and the other members of the Classes for damages and/or


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 restitution in an amount to be determined at trial;

        G.       An award of pre- and post-judgment interest to Plaintiffs;

        H.       An award of punitive damages to Plaintiffs under the MMPA;

        I.       An award to Plaintiffs for their costs of suit, including reasonable attorneys’ fees

 and expenses;

        J.       An award of such other relief as the Court may deem just and proper.

                                     JURY TRIAL DEMAND

        Plaintiffs, on behalf of themselves and all others similarly situated, hereby demand a jury

trial of all issues so triable.




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Dated: June 21, 2019                                Respectfully submitted by:

                                                    BOULWARE LAW LLC

                                                     /s/ Brandon J.B. Boulware
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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 21st day of June 2019, I electronically filed the foregoing
document with the Clerk of the Court using the CM/ECF system, which will send a notice of
electronic filing to counsel of record for this case.


                                                    /s/ Brandon J.B. Boulware
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